EXHIBIT 38
                                                       Page 1

 1
 2        UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
 3        Case No. 16-cv-5845(AJN)
          - - - - - - - - - - - - - - - - - - - -x
 4
          DORRELIEN FELIX and MARGALY FELIX,
 5        individually, and JONATHAN C. MOORE, as
          Administrator of the Estate of DAVID
 6        FELIX,
                                 Plaintiffs,
 7
                    -against-
 8
          THE CITY OF NEW YORK, a municipal entity;
 9        HAROLD CARTER and VINCENTE MATIAS,
          individually and in their official
10        capacities as New York City Police
          Detectives; the BRIDGE, Inc., a domestic
11        not-for-profit organization; and JANE DOE
          (as of yet unidentified employee of the
12        Bridge),
                                 Defendants.
13        - - - - - - - - - - - - - - - - - - - -x
14                           99 Park Avenue
                             New York, New York
15
                             October 23, 2019
16                           12:48 p.m.
17            DEPOSITION of THE CITY OF NEW YORK,
18        one of the Defendants in the above-
19        entitled action, by JAMES FULTON, held at
20        the above time and place, taken before
21        Arthur Hecht, a Shorthand Reporter and
22        Notary Public of the State of New York,
23        pursuant to the Federal Rules of Civil
24        Procedure, and stipulations between
25        Counsel.

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                                               Page 2                                                 Page 4
 1                                                       1              Fulton
 2   APPEARANCES:
 3                                                       2   J A M E S F U L T O N, called as a
     BELDOCK, LEVINE & HOFFMAN, L.L.P.                   3   witness, having been first duly sworn, was
 4   Attorneys for Plaintiff                             4   examined and testified as follows:
     99 Park Avenue
 5   New York, New York 10016                            5
     BY: JONATHAN C. MOORE, ESQ.                         6   EXAMINATION BY
 6     -and-
        LUNA DROUBI, ESQ.
                                                         7   MR. MOORE:
 7                                                       8      Q. Good afternoon, Captain Fulton.
 8                                                       9   Can you state your full name for the
     GEORGIA PESTANA, ESQ.
 9   CORPORATION COUNSEL, THE CITY OF NEW YORK
                                                        10   record and spell your last name?
     100 Church Street                                  11      A. It's James Fulton, F-U-L-T-O-N.
10   New York, New York 10007                           12      Q. Do you prefer being called Mr.
     BY: BRIAN FRANCOLLA, ESQ.
11                                                      13   Fulton or Captain Fulton?
12                                                      14      A. Mr. Fulton's fine.
     ALSO PRESENT: PETER J. CALLAGHAN                   15      Q. Okay.
13
14                                                      16      A. Mr. Fulton's -- captain...
          *    *   *                                    17      Q. Can you tell us what your
15                                                      18   current employment is?
16
17                                                      19      A. I'm retired.
18                                                      20      Q. Retired. And where are you
19
20
                                                        21   retired from?
21                                                      22      A. NYPD.
22                                                      23      Q. When did you retire?
23
24
                                                        24      A. May of this year.
25                                                      25      Q. Congratulations.
                                               Page 3                                                 Page 5
 1                                                       1               Fulton
 2        STIPULATIONS                                   2      A. Thank you.
 3                                                       3      Q. How many years did you do?
 4      IT IS HEREBY STIPULATED AND AGREED, by           4      A. Approximately 28.
 5   and among counsel for the respective                5      Q. Twenty-eight?
 6   parties hereto, that the filing, sealing            6      A. Yeah, about that.
 7   and certification of the within deposition          7      Q. And was your retirement
 8   shall be and the same are hereby waived;            8   voluntary?
 9      IT IS FURTHER STIPULATED AND AGREED              9      A. Yes.
10   that all objections, except as to form of          10      Q. At the time of your retirement,
11   the question, shall be reserved to the             11   what rank were you?
12   time of the trial;                                 12      A. Captain.
13      IT IS FURTHER STIPULATED AND AGREED             13      Q. Okay. In April of 2015, you
14   that the within deposition may be signed           14   were also the rank of captain?
15   before any Notary Public with the same             15      A. Yes.
16   force and effect as if signed and sworn to         16      Q. Okay. When did you -- when were
17   before the Court.                                  17   you promoted to captain?
18                                                      18      A. I was promoted in 2003.
19            * * *                                     19      Q. 2003?
20                                                      20      A. Yes.
21                                                      21      Q. What's your date of appointment
22                                                      22   to the police department?
23                                                      23      A. 1991.
24                                                      24      Q. When?
25                                                      25      A. April 30, 1991.
                                                                                            2 (Pages 2 - 5)
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                                                  Page 6                                                Page 8
 1                Fulton                                    1                Fulton
 2      Q. 1991?                                            2      Q. Right.
 3      A. Yes.                                             3      A. And then also recruit training
 4      Q. Okay.                                            4   would come up to us for firearms training.
 5      A. And captain, October 31st.                       5      Q. Who was your supervisor there?
 6      Q. October --                                       6      A. My -- Raymond Caroli --
 7      A. 31st, Halloween.                                 7   Inspector Raymond Caroli -- or chief,
 8      Q. All right. In April of 2015,                     8   sorry Chief Caroli. He was an inspector
 9   what was your assignment?                              9   at the time.
10      A. I was the executive officer of                  10      Q. Spell the last name.
11   the firearms and tactics section.                     11      A. Ray Caroli, C-A-R-O-L-I.
12      Q. And when did they -- where were                 12          MR. MOORE: Off the record.
13   your offices?                                         13          [Discussion held off the
14      A. Rodmans Neck in the Bronx.                      14      record.]
15      Q. How long were you the executive                 15      Q. Anything else you can tell us
16   officer there?                                        16   about your duties and responsibilities as
17      A. Close to six years.                             17   the XO of the firearms and tactics
18      Q. And before you were the                         18   section?
19   executive officer of the firearms and                 19      A. That's it, I just supervised,
20   tactics section, what was your assignment?            20   you know, lieutenants, sergeants, cops,
21      A. Leading up to that, I was in                    21   make sure on a daily basis they were given
22   narcotics.                                            22   proper training, firearms training.
23      Q. How long were you in narcotics?                 23      Q. From time to time, were you
24      A. Six years.                                      24   asked to conduct an investigation or be a
25      Q. Where, in the Bronx?                            25   part of an investigation into an officer's
                                                  Page 7                                                Page 9
 1                Fulton                                    1               Fulton
 2      A. That was my last assignment, but                 2   discharge of their weapon?
 3   I was in the Bronx, Queens, Brooklyn                   3      A. Yes.
 4   North, Brooklyn South.                                 4      Q. How did that come about?
 5      Q. Okay. When you retired, were                     5      A. The boroughs -- each borough
 6   you still in -- the executive officer of               6   would have -- if there was a shooting
 7   the firearms and tactics section?                      7   within the borough, they were responsible
 8      A. Yes.                                             8   to -- borough, on the borough level to --
 9      Q. So explain to us what your                       9   before it went to the main firearms
10   duties and responsibilities were as an                10   discharge review board with the, you know,
11   executive officer for the firearms and                11   the higher staff, I guess --
12   tactics section.                                      12      Q. Right.
13      A. I was in second in command                      13      A. -- the chiefs and stuff, they
14   in the -- you know, I usually did four to             14   would have to do an investigation and pass
15   twelves, and qualifications of the                    15   it up -- and -- I guess they'd have to
16   firearms for the members of the service, I            16   have findings when, you know, the
17   oversaw that, and --                                  17   shooting's a good shoot or not a good
18      Q. You oversaw the -- oversaw the                  18   shoot.
19   qualifications for members of service on              19          So part of it was they would
20   the use of weapons?                                   20   send me, through e-mail, to find out,
21      A. On firearms, the firearm                        21   because we were from tactics, you know,
22   qualifications.                                       22   firearms and tactics, to take a look at
23      Q. Okay.                                           23   the situation -- the incident and deem if
24      A. They're annual, so they would                   24   there's any type of -- you know, how the
25   have to come twice a year.                            25   incident -- was it reasonable and if there
                                                                                              3 (Pages 6 - 9)
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                                            Page 10                                                Page 12
 1                 Fulton                              1                Fulton
 2   was any, you know, maybe disadvantages or         2   the tactics used, correct?
 3   tactics or advantages, tactical advantages        3      A. Yes, it would be after the fact.
 4   or disadvantages, and I must have done            4   It would be, you know, in hindsight, what
 5   over a hundred of them.                           5   if -- you know, what do I -- like, you
 6       Q. When you say a hundred, you mean           6   know, like I said, six months, a year
 7   a hundred where you assisted in the               7   later, they'd say this is -- this is the
 8   overall investigation of somebody's               8   facts, this is a video or whatever we have
 9   discharge of weapon?                              9   on it, what do you see.
10       A. Well, they would send me the              10      Q. So when you did the
11   reports and I would have to, you know, do        11   investigation -- withdraw that.
12   a little -- like on tactics, one of the          12           Were there ever any occasion
13   sections, and I would have to comment on         13   where you yourself were responsible for
14   it.                                              14   the overall investigation that was being
15           And sometimes it would come, you         15   done by the firearms discharge review
16   know, you know, when they would do the           16   board of a shooting?
17   board, it wasn't like they did a board           17      A. No.
18   right after the shooting, sometimes it           18      Q. Okay. So your involvement in
19   would be a year later, two years --              19   these shooting investigations by members
20       Q. Yes.                                      20   of service was always from the standpoint
21       A. -- later, so, you know, I'd get           21   of what tactics were used, whether they
22   the information, they'd say, listen, we're       22   were, you know, looking at the tactics
23   going to do a board on, like, these              23   that were used?
24   shootings, from the borough standpoint, we       24      A. Tactics and also if the shooting
25   need, you know, a comment, on, you know,         25   seemed reasonable or not.
                                            Page 11                                                Page 13
 1               Fulton                                1                Fulton
 2   what you can see about tactics, I'd say           2       Q. Seemed --
 3   okay and I'd take a look at it.                   3       A. Seemed reasonable or not.
 4         And at first, I think Inspector             4       Q. Okay.
 5   Caroli was doing them before I got there,         5       A. You know.
 6   and when I got there, he made that one of         6       Q. So you were asked to -- you
 7   my assignments, so -- but I still would go        7   would be asked to give an opinion as to
 8   to him, you know, on occasion, you know,          8   whether the shooting in a particular case
 9   and ask him for advice because, you now --        9   was -- reflected appropriate tactics, is
10      Q. Right.                                     10   that -- is that correct?
11      A. -- some were a little more, you            11       A. They wouldn't ask -- they would
12   know, difficult than others, so.                 12   -- they would say they're going to send me
13      Q. So just so I understand, you               13   information, and then whatever information
14   weren't the person who was actually              14   I saw, if I saw -- because I was in
15   responsible for conducting the                   15   training, if I saw a tactical advantage
16   investigation of a discharge of weapon,          16   that the cops could have used, or a
17   but you would participate in that                17   tactical disadvantage that they used, I
18   process --                                       18   would comment if I felt it needed to be
19      A. Yeah, it was after the fact, it            19   commented on.
20   was like --                                      20       Q. Okay. You also said -- I
21      Q. Let me just finish the --                  21   believe you said that you would also be
22      A. Okay.                                      22   asked to opine as to whether the shooting
23      Q. -- question.                               23   was reasonable or not, is that correct?
24      A. Sorry.                                     24       A. Most times if it was a good --
25      Q. -- as part of the -- reviewing             25   if it was like a good shoot or a bad
                                                                                       4 (Pages 10 - 13)
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                                             Page 42                                                 Page 44
 1               Fulton                                 1               Fulton
 2      Q. Did you even know about that?                2   health issues, you're aware of that,
 3      A. No.                                          3   right?
 4      Q. In the video we just observed,               4      A. I believe so, yes.
 5   did you ever see anything in the hand of           5      Q. A place called The Bridge,
 6   David Felix, any radio, any stick, any gun         6   right?
 7   or anything?                                       7      A. Yes.
 8      A. I don't believe so.                          8      Q. You've heard of The Bridge
 9      Q. Okay. And so for all the time                9   before, right?
10   that they were struggling in front of that        10      A. Not -- I didn't work in
11   door there, there was nothing in his              11   Manhattan, but from the incident.
12   hands, correct, as far as you can recall?         12      Q. Okay. But you knew at the time
13      A. I didn't see -- yeah, I didn't              13   you were asked to review the tactics, that
14   see anything.                                     14   the incident took place at a facility for
15      Q. And you never saw him actually              15   people who had mental health issues --
16   slug or punch any of the officers while           16      A. Yes.
17   they were in the front there, correct?            17      Q. -- correct?
18      A. I didn't see that, no.                      18      A. Yes.
19      Q. Okay. Now, you say here and it              19      Q. And you knew that -- were you
20   says here in the tactics section, after it        20   also advised that Mr. Felix had been
21   says the incident was reviewed by you             21   diagnosed as a paranoid schizophrenic?
22   regarding tactics, it says the detectives         22      A. I mean, I don't know his
23   would have been prudent if they requested         23   official diagnosis. I know that -- I
24   additional backup personnel due to the            24   believe that someone told the detectives
25   violent criminal past and mental history          25   that he has, you know, he had a history of
                                             Page 43                                                 Page 45
 1                Fulton                                1               Fulton
 2   of the perpetrator prior to their                  2   mental illness.
 3   interaction, do you see that?                      3      Q. Right, and do you know what the
 4      A. Yes.                                         4   history was, do you know that it was
 5      Q. Is that an opinion you gave to               5   paranoid schizophrenia?
 6   Lieutenant Hatzoglou, is that an opinion           6      A. I didn't know the official -- I
 7   you gave to him?                                   7   don't recall. I don't recall. I might
 8      A. Yeah, that's from -- from what I             8   have known it at the time, I don't recall,
 9   gleaned from the information, that's what          9   maybe.
10   I thought.                                        10      Q. Were you aware as to whether
11      Q. What do you mean by that, that              11   there was a suggestion that he had not
12   they would have been prudent to request           12   been taking his medication?
13   additional backup?                                13      A. I don't recall that.
14      A. Well, after -- you know, like I             14      Q. So in this situation, was it
15   said, after watching the video, their             15   your opinion that given the violent nature
16   size, they were outsized, you know, and,          16   of what they were looking for him for and
17   you know, tactical -- like I said, I do           17   given his mental history prior to the
18   training, so tactical advantage would then        18   intersection, that these detectives should
19   to probably, you know -- more people              19   have called a supervisor or called ESU
20   there, you know, would have been prudent.         20   before going up there, was that your
21      Q. Well, you mention -- it mentions            21   opinion?
22   here the mental history of the                    22      A. No, I said it's prudent, it
23   perpetrator, so you were aware, were you          23   would have been prudent if they did that.
24   not, that this incident took place at a           24   It would have been -- it have been
25   facility that treats people with mental           25   prudent.
                                                                                       12 (Pages 42 - 45)
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                                           Page 62                                                Page 64
 1               Fulton                               1                Fulton
 2          [Whereupon, at this time, the             2      A. It looks like it's repeating --
 3      reporter marked as Fulton Exhibit 1           3      Q. Yes.
 4      the above-mentioned memo from the             4      A. -- it's similar to what I wrote.
 5      chief of department to the police             5      Q. And the recommendation, the
 6      commissioner for identification.]             6   findings and recommendation -- well,
 7      Q. All right, let me hand you                 7   there's a finding of no violation of
 8   what's been marked Fulton deposition             8   department firearms policy, correct?
 9   Exhibit number 1. The document you looked        9      A. No violation firearms --
10   at before was the -- Tobin 5 was the final      10      Q. And the recommendation was
11   report for the firearms discharge review        11   retraining of Detective Carter, or
12   board in the confines of the 9th Precinct       12   retraining of tactics --
13   -- the document you looked at before,           13      A. Yes.
14   which was Tobin Exhibit number 5, was from      14      Q. -- correct?
15   the commanding officer of the patrol            15      A. Yes.
16   borough of Manhattan South investigations       16      Q. And that's signed by Carlos
17   unit to the chief of department, correct?       17   Gomez who's chief of department and it's
18      A. That's from chief of department           18   approved by chief of Jim O'Neill, correct?
19   to --                                           19      A. That's what it says, yes.
20      Q. No, this one here, this one               20      Q. So that means the commissioner
21   here.                                           21   of the police department signed off on
22      A. This one?                                 22   this investigation, right?
23      Q. Yes.                                      23      A. He approved it.
24      A. This is from Manhattan South              24      Q. Yes. Do you know if there was
25   investigations unit --                          25   ever any retraining provided to either
                                           Page 63                                                Page 65
 1                Fulton                              1               Fulton
 2      Q. Right.                                     2   Carter or Matias?
 3      A. -- to chief of department, yes.            3      A. I don't know, no.
 4      Q. Okay. Now, the document I just             4      Q. Well, look at page, on Tobin
 5   handed you which is Fulton Exhibit number        5   Exhibit number 5, look at page six.
 6   1 is a memo from the chief of department         6      A. This one?
 7   to the police commissioner, correct?             7          MR. FRANCOLLA: Yes.
 8      A. Yes.                                       8      Q. On subsection seven, where it
 9      Q. Concerning the same matter,                9   says Detective Carter attended the tactics
10   right?                                          10   review session on April 26, 2016, do you
11      A. It is the same, yes.                      11   see that?
12      Q. Yes. And there's a section in             12      A. Okay.
13   here, if you look on page, I guess it's         13      Q. Would that have been retraining
14   page five, which is Bates stamped number        14   for Detective Carter?
15   Defendant 2015, where the tactics,              15      A. I -- yes, the tactics review
16   assessment of tactics and procedure             16   section is done at the range.
17   appears, correct?                               17      Q. At the range, right?
18      A. Yes.                                      18      A. Yes, but I don't -- I don't
19      Q. And that's similar to the one             19   recall him coming, I don't -- me
20   that you made in the earlier document,          20   personally, I don't remember seeing him or
21   right?                                          21   doing, you know, this date or anything.
22      A. It looks like what I said, but            22      Q. As far as you understand, that
23   that's not -- I didn't do this.                 23   would reflect the fact that Carter was --
24      Q. No, I understand, but it's                24   did get retraining on tactics on April 26,
25   repeating your --                               25   2016, correct?
                                                                                     17 (Pages 62 - 65)
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                                                Page 66                                               Page 68
 1               Fulton                                    1                Fulton
 2     A. That's what it says, yeah.                       2   was that it would have been prudent for
 3     Q. Okay. And when we talk about                     3   them --
 4   the policy of isolation -- isolate and                4      A. Well, they could have called --
 5   contain, one of the other aspects of the              5   sometimes some guys call for just a radio
 6   policy is that if necessary, you want to              6   car to back me up, you know, let me get a
 7   call ESU or call a bus, right?                        7   car over here for a nonemergency.
 8     A. Uh-hum.                                          8      Q. Okay. Just so we understand
 9     Q. That's part of the protocol when                 9   what we're talking about, it was your
10   dealing with EDPs?                                   10   opinion that the detectives -- it would
11         MR. FRANCOLLA: Objection.                      11   have been prudent for the detectives to
12     A. I mean, they call a bus for                     12   have requested additional backup personnel
13   EDPs.                                                13   prior to the interaction, right?
14     Q. Yes.                                            14      A. Yes.
15     A. For my knowledge.                               15      Q. So that was before they even got
16     Q. A bus referring to an ESU                       16   into contact with Mr. Felix, correct?
17   vehicle or ambulance?                                17      A. Yes, yes.
18     A. No, a bus is usually an                         18      Q. Okay.
19   ambulance.                                           19      A. But like I say, I don't know
20     Q. Okay.                                           20   what type of, you know, backup -- there's
21     A. EMS.                                            21   -- you know, you're saying the super --
22     Q. So what is the policy, to call                  22   they should have called the supervisor,
23   ESU or just call an ambulance?                       23   you know, they could have -- some guys,
24         MR. FRANCOLLA: Objection.                      24   like I said, they, you know, just call a
25     Q. If you know.                                    25   backup, an RMP, you know, not a --
                                                Page 67                                               Page 69
 1               Fulton                                    1                Fulton
 2      A. For what type of person?                        2      Q. So what is that, a 1085, a 1013?
 3      Q. For an EDP.                                     3      A. 1085, not emergency.
 4      A. You know, I got 28 years on, and                4      Q. Okay.
 5   1991, you can see from that EDP, this one             5      A. And they call and show up,
 6   you gave me, is 2013, so there's been                 6   they're, like, hey, we're going in, you
 7   updates and numerous updates, you know,               7   know, so you know, we're going in to grab
 8   you know, you know, I don't think every               8   this guy, can you just back up, you know,
 9   EDP, unless they changed it, every EDP is             9   go in the rear --
10   ESU, because --                                      10      Q. Right.
11      Q. Every EDP is what?                             11      A. -- because if he jumps out the
12      A. Every EDP needs to request of                  12   back or something, okay, you know.
13   ESU, I think it depends on the nature of             13      Q. Exactly. And that was your
14   the violence or maybe nowadays they call             14   judgment that it would have been prudent
15   ESU for every EDP they show up at, I don't           15   to do that was based on the violent
16   know.                                                16   criminal past and mental history of Mr.
17      Q. But in terms of calling for                    17   Felix, correct?
18   assistance, you would call a supervisor              18      A. And the information I got and
19   who would direct other officers                      19   also the video, I base that on, so I
20   to respond?                                          20   looked at the video, I looked at the
21      A. Again, assistance when, when you               21   information they gave me, the 49, and
22   call an 85? You're just screaming on the             22   that's what I wrote, that statement.
23   radio.                                               23      Q. But you're, just to be clear,
24      Q. No, I'm talking about before                   24   you say the detectives would have been
25   they went in that building. Your judgment            25   prudent to request additional backup
                                                                                         18 (Pages 66 - 69)
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